         Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 1 of 11



                    IN THE UNITED STATES DISTRICT COURT FOR
                  THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                     *
JOSE ALEMAN, et al.,
                                     *

                                     *
     Plaintiffs,
v.                                   *       CIVIL NO.: WDQ-04-4022

CHUGACH SUPPORT SERVICES,            *
INC., et al.,
                                     *
     Defendants.                     *

*    *        *      *     *    *    *       *   *     *    *    *        *

                         MEMORANDUM OPINION AND ORDER

              Jose Aleman, Cesar Basilis, James Blasic, Carlos Borrayo,

and Mario Rodas have sued Chugach Support Services, Inc. and

Chugach Alaska Corporation for national origin discrimination and

retaliation in violation of Title VII of the Civil Rights Act of

1964 (“Title VII)1 and 42 U.S.C. § 1981 of the United States Code2.

Pending are the Defendants’ motion to dismiss the Plaintiffs’

amended complaint for failure to state a claim3 and the Plaintiffs’

motion for leave to file surreply. For the following reasons, the

Defendants’ motion to dismiss will be granted as to arbitrable



     1
      42 U.S.C. §§ 2000e et seq. (2005).
     2
      42 U.S.C. §1981 (2005).
     3
      The Defendants’ motion failed to address all the
Plaintiffs’ claims. One of the claims that Defendants do not
address is the Plaintiffs’ state discrimination claim under
Article 49B of the Maryland Code.

                                         1
     Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 2 of 11



claims and denied in all other respects, and the Plaintiffs’ motion

for leave to file surreply will be denied.

                          I.     BACKGROUND

             The Plaintiffs are former employees of Chugach Support

Services, Inc., a subsidiary of Chugach Alaska Corporation.                      See

Amended Complaint at ¶¶4-10.              With the exception of Blasic, a

Caucasian male, the Plaintiffs are Hispanic.                See id. at

¶¶ 4-8.    Plaintiffs Aleman, Basilis, Borrayo and Rodas allege that

they were discriminated against based upon their national origin.

See id. at ¶¶ 12, 13, 16, 17, 18. They allege that they were

subjected to a hostile work environment, discriminatory terms and

conditions    of     employment,     unequal      compensation     and    unlawful

termination.         See id.      Plaintiff Blasic alleges that he was

terminated in retaliation for his opposition to the discriminatory

practices.        See id. at ¶37.

             The    Plaintiffs    filed       timely   charges   with    the   Equal

Employment Opportunity Commission and were issued right to sue

letters.     See id. at ¶11.

             On December 27, 2004, the Plaintiffs brought this suit.

                               II. LEGAL DISCUSSION

A.           Motion to Dismiss

             1.     Standard of Review

             A Fed.R.Civ.P. 12 (b)(6) motion to dismiss should be

granted “only if it is clear that no relief could be granted under


                                          2
       Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 3 of 11



any    set   of    facts    that     could    be       proved    consistent    with     the

allegations.” Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514

(2002), (citing Hishon v. King & Spalding, 467 U.S. 69, 73 (1984));

Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982). All allegations

are treated as true, and the complaint is viewed in the light most

favorable     to    the     plaintiff.       Mylan      Laboratories,       Inc.   v.   Raj

Matkari, et. al., 7 F.3d 1130, 1134 (4th Cir. 1993).                               If any

possible basis for relief has been pled, the Court must deny the

motion to dismiss. Garland v. St. Louis, 596 F.2d 784 (8th Cir.

1979), cert. denied, 444 U.S. 899 (1979); Swierkiewicz, 534 U.S. at

514.

             In deciding a Rule 12(b)(6) motion, the Court will

consider the facts stated in the complaint and any attached

documents.        Biospherics, Inc., v. Forbes, Inc., 989 F.Supp. 748,

749 (D. Md. 1997), aff’d, 151 F.3d 180 (4th Cir. 1998)). The Court

may also consider documents referred to in the complaint and relied

upon by plaintiff in bringing the action.                       Id.

             2.      Arbitration Provision

             The Defendants contend that the claims of Aleman and

Basilis must be dismissed for lack of subject matter jurisdiction.

Specifically,        they    argue    that        these    claims     are    subject    to

arbitration        procedures      outlined       in    the     Collective    Bargaining

Agreement (“CBA”).

             The Federal Arbitration Act does not “mandate arbitration


                                              3
         Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 4 of 11



of all claims, but merely the enforcement...of privately negotiated

arbitration agreements.”        Dean Witter Reynolds, Inc. v. Byrd, 470

U.S. 213, 219 (1985). There is a “healthy regard for the federal

policy favoring arbitration.”           Moses H. Cone Memorial Hospital v.

Mercury Construction Co., 460 U.S. 1, 24 (1983).

              The CBA’s arbitration clause provides:

               Section 1. The parties hereto have provided
     below, in the following Sections of this Article, a
     procedure for final and binding resolution of a dispute,
     disagreement, or violation involving the interpretation
     or application of the provisions of this Agreement
     (hereafter called a “grievance”), arising during the term
     of this Agreement between an Employer and the Union
     and/or an Employee grievance shall include any claim by
     an employee that he has been subjected to discrimination
     under Title VII of the Civil Rights Act of 1964, as
     amended,[...] and/or all other federal, state, and local
     anti-discrimination laws. (Emphasis added).

See Mot. Dism. Exhibit 3 at p. 42.

Moreover,     Section   2   mandates    that     “any     grievance     between   an

Employer and the Union and/or an employee represented by the

Union...shall      be   resolved   in        accordance    with   the    following

provisions of this Article[...] if the parties are unable to

resolve a dispute hereunder,[...] all such disputes shall be

submitted to arbitration.” See id. at pp. 48-49. As this agreement

provides a “clear and unmistakable waiver of the Plaintiffs’ rights

to pursue these claims, these claims will be dismissed.4                          See

     4
      The Plaintiffs have also filed a motion for leave to amend
its complaint to add the Mid-Atlantic Regional Council of
Carpenters (“MARCC”) as a party. As Aleman and Basilis’ claims
against MARCC are subject to the CBA, the Plaintiffs’ motion will

                                         4
     Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 5 of 11



Safrit v. Cone Mills Corp., 248 F.3d 306, 308 (4th Cir. 2001),

citing Carson v. Giant Food, Inc., 175 F.3d 325, 332 (4th Cir.

1999) (a clear and unmistakable waiver is an arbitration clause in

which the parties agree to submit to arbitration all federal causes

of action arising out of employment)).

             3.    Title VII: National Origin Discrimination

             Title VII provides that it “shall be unlawful to

discriminate       against   any     individual    with       respect   to   his

compensation, terms, conditions, or privileges of employment,

because of such individual's [...] national origin." 42 U.S.C. §§

2000e-2(a).

             (A)   Hostile Work Environment

             Borrayo and Rodas claim that the Defendants subjected

them to a hostile work environment based upon their national

origin.

             To establish a hostile work environment claim based upon

national origin, an employee is required to prove: (1) he was

harassed   based     on   national    origin;     (2)   the    harassment    was

unwelcome; (3) harassment was sufficiently severe or pervasive to

alter the employee's conditions of employment and to create an

abusive work environment; and (4) some basis exists to impute

liability to the employer. Hartsell v. Duplex Prods., Inc., 123



be denied.


                                       5
     Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 6 of 11



F.3d 766, 772 (4th Cir. 1997).

             The Defendants contend that dismissal is warranted

because the alleged incidents of harassment were not severe or

pervasive.

             To determine whether the harassment is severe enough to

create a hostile work environment, a court should consider: (1) the

frequency of the discriminatory conduct; (2) its severity; (3)

whether it is physically threatening or humiliating, or a mere

offensive utterance; (4) whether it unreasonably interferes with an

employee's    work   performance;       and   (5)   whether   it   resulted   in

psychological harm. Harris v. Forklift Sys., 510 U.S. 17, 23

(1993).

             Although the Defendants cite multiple cases to support

their assertion that the Plaintiffs’ complaint cannot meet these

factors, nearly all of the cases it relies upon were disposed of on

grounds other than a motion to dismiss.               To survive a motion to

dismiss, the Plaintiffs need not provide all the facts surrounding

their claims.     Conley v. Gibson, 355 U.S. 41, 47 (1957).           Instead,

they simply must allege a short and plain statement of the claim

that contains enough facts for the Court to infer each element of

their cause of action.     See   FED.   R. CIV. P. 8(a)(2).    The Plaintiffs

allege    that   they   were   subjected      to    several   incidents   which

negatively affected their working conditions including, but not



                                        6
         Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 7 of 11



limited to, a longstanding English only rule, derogatory statements

about Hispanics made by supervisors and separate meal areas for

Hispanic and non-Hispanic employees.               See Amended Complaint at

¶¶13, 16, 17.        As the complaint alleges that the examples given

were merely illustrative, the Court can infer that the “severe or

pervasive” element of the Plaintiffs’ hostile work environment

claim may be present.         See Riley v. Buckner, No. 00-1048, 2001 U.S.

App. LEXIS 240, at *8 ( 4th Cir. Jan. 8, 2001 ) (“We are satisfied

that general allegations, coupled with a specific example are

sufficient, though barely, to survive a motion to dismiss”).

              (B)    English Only Rule

              Rodas and Borrayo contend that the Defendants adopted an

English     speaking       only   rule   which   constitutes   both   disparate

treatment and disparate impact discrimination.5

                     (i)    Disparate Treatment

              The elements of a disparate treatment claim under Title

VII and Section 19816 are: (1) membership in a protected class;(2)

satisfactory performance of job duties;(3) adverse employment

action;     and     (4)    adverse   employment    action   occurring    "under


     5
      As Plaintiff Rodas, not Borrayo, was allegedly terminated
based upon his violation of the English only rule, he appears to
have the only viable disparate treatment claim.

     6
      The elements of a prima facie case are identical under
Title VII and Section 1981. Gairola v. Virginia Dept. of Gen.
Servs., 753 F.2d 1281, 1285 (4th Cir. 1985).


                                          7
     Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 8 of 11



circumstances   which   give   rise       to    an   inference   of    unlawful

discrimination."   E.E .O.C. v. Sears Roebuck & Co., 243 F.3d 846,

851 (4th Cir. 2001).

          The Defendants contend that this claim must fail because

Rodas cannot establish that he was discriminated against because of

his national origin.    Specifically, the Defendants argue that an

English only rule does not constitute discrimination based upon

national origin.   This argument, however, is unpersuasive.

          Although Title VII does not provide an employee with a

right to speak his native tongue while on the job, Long v. First

Union Corp. of Virginia, 894 F.Supp. 933, 941 (E.D. Va. 1995),

aff’d, 86 F.3d 1151 (4th Cir. 1996), an employer may not use an

English only policy intentionally to discriminate against a person

of a particular national origin.          Velasquez v. Goldwater Memorial

Hospital, 88 F. Supp. 2d 257, 263 (S.D.N.Y. 2000).                    Rodas has

sufficiently alleged that the Defendants adopted the rule to

discriminate against Hispanics.           See Amended Complaint at ¶17.

Whether   the   Defendants’    policy          was   used   intentionally    to

discriminate against its Hispanic employees is not to be resolved

on this Motion to Dismiss.     See Republican Party of North Carolina

v. Martin, 980 F.2d 943, 952 (4th Cir. 1992)(12(b)(6) motion tests

the sufficiency of a complaint, it does not resolve contests

surrounding the facts).



                                      8
     Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 9 of 11



            (ii) Disparate Impact Discrimination

            Title     VII's    prohibition    includes       "not   only    overt

discrimination but also practices that are fair in form, but

discriminatory      in    operation--disparate      impact    discrimination."

Griggs v. Duke Power Co., 401 U.S. 424, 431 (1971).

            The inquiry under a disparate impact claim is whether a

facially    neutral      employment    practice,    applied    equally     to   all

individuals, falls more harshly on one group than another and

cannot be justified by a business necessity. Teamsters v. United

States, 431 U.S. 324, 335-36(1977).          English-only policies tend to

affect people whose national origin is from non-English speaking

countries more heavily than it affects others. EEOC v. Synchro-

Start Prods., Inc., 29 F. Supp. 2d 911, 912 (N.D. Ill. 1999).

            Contrary to the Defendants’ assertions, the Plaintiffs

have sufficiently alleged a disparate impact claim.                 They allege

that the English only rule, unjustified by business necessity,

disparately affects the Hispanic employees by altering the terms

and conditions of their employment. See Amended Complaint at ¶¶12,

13, 16, 17. As stated above, although the Plaintiffs do not have

a right to speak Spanish at work, if the Defendants used this

policy to alter the terms and conditions of its Hispanic employees,

Title VII has been violated.

            4.      Retaliation

            The elements of a retaliation claim are: (1) engagement

in a protected activity; (2) adverse employment action by the

employer;    and    (3)   a   causal   connection    between    the   protected

                                        9
     Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 10 of 11



activity and the asserted adverse action. Von Gunten v. Maryland,

243 F.3d 858, 863 (4th Cir. 2001).

            Blasic alleges that he was terminated one week after

opposing the Defendants’ discriminatory practices.             The Defendants

allege    that   Blasic’s   claim   must   fail   because      no   actionable

discrimination occurred. Even assuming that the Defendants did not

discriminate against its Hispanic employees, Blasic’s retaliation

claim survives.      To prevail under his retaliation claim, Blasic

need only prove that he in good faith believed that he was opposing

discriminatory conduct.       See Peters v. Jenney, 327 F.3d 307, 321

(4th Cir. 2003)(a Title VII oppositional retaliation claimant need

only show a good faith belief of discrimination, not that the

underlying claim of discrimination was in fact meritorious).

            B.     Motion for Leave to File Surreply

            Plaintiffs have moved for leave to file a surreply

alleging that the Defendants’ Reply brief contained misstatements

of material facts. See generally, Plaintiffs’ Mot. for Leave.

Because    these    alleged   misstatements       were   not    dispositive,

Plaintiffs’ motion for leave to file a surreply memorandum will be

denied as moot.




                                     10
     Case 1:04-cv-04022-WDQ Document 63 Filed 11/07/05 Page 11 of 11



                              CONCLUSION

          For the reasons discussed above, the Defendants’ motion

to dismiss will be granted as to arbitrable claims and denied in

all other respects, the Plaintiffs’ motion to file surreply will be

denied as moot, and the Plaintiffs’ motion to file a second amended

complaint will be denied.



November 7, 2005                          /s/
Date                             William D. Quarles, Jr.
                                 United States District Judge




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